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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

 MARCIANO OLIVO ROSA,

                    Plaintiff(s),                     Civil No. 16-1164 (DRD)

 v.                                                   2255

 UNITED STATES OF AMERICA,

                    Defendant(s).


                                          JUDGMENT

       For the reasons set forth in the Opinion and Order of even date, Docket No. 26, the Court

DENIES the request of the Petitioner Marciano Olivo-Rosa, as well as the request for a certificate

of appealability.

       This case is now closed for all administrative and statistical purposes.

       IT IS SO ORDERED, ADJUDGED AND DECREED.

       In San Juan, Puerto Rico, this 31st day of March 2019.

                                                             s/Daniel R. Domínguez
                                                              DANIEL R. DOMINGUEZ
                                                              Senior United States District Judge




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